Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 1 of 14 Page ID #:1




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8    Bryan Estrada
9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11

12                                                Case No. 5:22-cv-392
     Bryan Estrada,
13

14                                                COMPLAINT
                      Plaintiff,
15

16
                      v.
17

18

19   Fargo Chiropractic, Inc.; Nabeel Fargo;
     Rosalie J. Pluim; Dana M. Regan; Toni L.
20
     House and Does 1-10, inclusive,
21

22
                Defendants.
23

24

25

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28                                          -1-
29
                                          COMPLAINT

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31
Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 2 of 14 Page ID #:2




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2

3                              NATURE OF THE ACTION
4                 1.    This is an action seeking to remedy unlawful discrimination by
5    the Defendants against the Plaintiff in the Defendants’ places of public
6    accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
7
     12101, et seq.] (the “ADA”).
8

9
                                          PARTIES
10
                  2.    Plaintiff, Bryan Estrada, is a paraplegic resident of the state of
11
     California, County of Riverside, who requires the use of a wheelchair for mobility
12
     purposes and who is therefore a “person with a disability” within the meaning of
13

14
     the ADA and Cal. Government Code § 12926.

15                3.    The Defendants (defined below) discriminate against
16   people with mobility disabilities in the full and equal enjoyment of the goods,
17   services, facilities, privileges, advantages, or accommodations on the basis of their
18   mobility disability at the Subject Property (defined below) in violation of the ADA
19   [42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
20                4.    The Defendants' failure to make reasonable modifications in
21
     policies, practices, or procedures when such modifications are necessary to afford
22
     goods, services, facilities, privileges, advantages, or accommodations to
23
     individuals with disabilities prevented people with mobility disabilities from
24
     enjoying fair and equal access to the Subject Property (defined below) in violation
25
     of the ADA [42 U.S.C. § 12182(b)(2)(A)(ii)].
26
                  5.    Defendant, Fargo Chiropractic, Inc., owns, operates, or leases
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28                                           -2-
29
                                           COMPLAINT

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Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 3 of 14 Page ID #:3




1
     real property located at 6281 Brockton Ave., Riverside, CA 92506, also known as

2    Riverside County Assessor’s Parcel No. 225-032-028 (the “Subject Property”).
3                  6.    Defendant, Nabeel Fargo, owns, operates, or leases
4    real property located at 6281 Brockton Ave., Riverside, CA 92506, also known as
5    Riverside County Assessor’s Parcel No. 225-032-028 (the “Subject Property”).
6                  7.    Defendant, Rosalie J. Pluim, owns, operates, or leases
7
     real property located at 6281 Brockton Ave., Riverside, CA 92506, also known as
8
     Riverside County Assessor’s Parcel No. 225-032-028 (the “Subject Property”).
9
                   8.    Defendant, Dana M. Regan, owns, operates, or leases
10
     real property located at 6281 Brockton Ave., Riverside, CA 92506, also known as
11
     Riverside County Assessor’s Parcel No. 225-032-028 (the “Subject Property”).
12
                   9.    Defendant, Toni L. House, owns, operates, or leases
13

14
     real property located at 6281 Brockton Ave., Riverside, CA 92506, also known as

15   Riverside County Assessor’s Parcel No. 225-032-028(the “Subject Property”).
16                 10.   The Subject Property is a commercial facility open to the
17   general public, is a public accommodation, and is a business establishment insofar
18   as goods and/or services are made available to the general public at Fargo
19   Chiropractic thereat. Defendant Does 1 through 10, inclusive, are sued herein
20   under fictitious names. Their true names and capacities are unknown to the
21
     Plaintiff. When their true names and capacities are ascertained, Plaintiff will
22
     amend this complaint by inserting their true names and capacities herein. Plaintiff
23
     is informed and believes and thereon alleges that each of the fictitiously named
24
     Defendants are responsible in some manner for the occurrences herein alleged, and
25
     that the harm to Plaintiff herein alleged were proximately caused by those
26
     Defendants.
27

28                                           -3-
29
                                           COMPLAINT

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Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 4 of 14 Page ID #:4




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2                               JURISDICTION AND VENUE
3                  11.    This Court has jurisdiction over the subject matter of this action
4    pursuant 28 U.S.C. § 1331and28 U.S.C. §§1343(a)(3) and 1343(a)(4) for violations
5    of the ADA.
6                  12.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
7
     based on the fact that the real property that is the subject of this action is located in
8
     this district and the Plaintiff’s causes of action arose in this district.
9

10
                                   STATEMENT OF FACTS
11
                   13.    Parking spaces, accessible aisles, paths of travel, signage,
12
     doorways, service counters, customer areas and goods/services are among the
13

14
     facilities, privileges and advantages offered by the Defendants to patrons of the

15   Subject Property.
16                 14.    The Subject Property does not comply with the minimum
17   requirements of the ADA and is therefore not equally accessible to persons with
18   mobility disabilities.
19                 15.    In December, 2019 and continuously from that time to the
20   Present, and currently, the Subject Property has not been in compliance with the
21
     ADA (the “Barriers”):
22
                          A.     The Subject Property lacks the minimum required
23
     number of ADA compliant accessible parking spaces. There are none provided.
24
                          B.     There was no diagonal striped marking and no blue
25
     border around where an access aisle is supposed to exist adjacent to any designated
26
     accessible parking space serving the Subject Property.
27

28                                             -4-
29
                                             COMPLAINT

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Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 5 of 14 Page ID #:5




1
                         C.     The parking space provided at the Subject Property are

2    smaller than permitted by the ADA.
3                        D.     The parking spaces at the Subject Property do not
4    provide accessible parking signage as required by the ADA. Among other things,
5    they fail to provide tow-away signage and “Minimum Fine $250” signage as
6    required by the ADA and state law to be posted.
7
                         E.     There is no twelve-inch high “NO PARKING” lettering
8
     on any blue-striped parking access aisle serving the Subject Property.
9
                         F.     There was no designated “van accessible” parking space
10
     with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
11
     going forward into the parking space and no sign or additional language stating
12
     “Van Accessible” below the symbol of accessibility located in a manner that is not
13

14
     obstructed.

15                 16.   Plaintiff personally encountered one or more of the Barriers
16   at the Subject Property in December, 2019, including a lack of accessible parking,
17   van accessible parking, accessible parking signage, and a blue-striped parking
18   access aisle. The Barriers prevented Plaintiff from parking and exiting his vehicle
19   for fear of being blocked in by another parked car and for lack of safe space to
20   assemble and disassemble his wheelchair.
21
                   17.   Between December, 2019 and the present, the Plaintiff had
22
     personal knowledge of the existence of Barriers at the Subject Property. The
23
     Barriers are located in the parking areas. In addition to the Barriers, Plaintiff
24
     alleges on information and belief based on a visual inspection that the following
25
     barriers also exist on the Subject Property: there is no accessible path of travel
26
     from the public right of way to Fargo Chiropractic; the accessible path of travel
27

28                                            -5-
29
                                            COMPLAINT

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Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 6 of 14 Page ID #:6




1
     that crosses or adjoins the vehicular way does not separate the pedestrian way from

2    the vehicular way with curbs, railings or other elements; the primary entrance door
3    to Fargo Chiropractic is lacking a smooth surface (kick plate) within ten inches of
4    the floor on the push side; the customer service transaction counter in Fargo
5    Chiropractic is too high; there is no accessible seating in the lobby of Fargo
6    Chiropractic; the floor mat on the inside of the primary entrance door to Fargo
7
     Chiropractic is not secured in place; the universal symbol of accessibility is not
8
     displayed in any parking space.
9
                  18.   The existence of Barriers, the implementation of discriminatory
10
     policies, practices and procedures, and other ADA violations at the Subject
11
     Property reasonably dissuaded or deterred Plaintiff from accessing the Subject
12
     Property on a particular occasion between December, 2019 and the present.
13

14
                  19.   On information and belief, the remediation of violations

15   identified hereinabove, to be identified by the Defendants in discovery, and to be
16   discovered by Plaintiff’s experts are all readily achievable in that the removal of
17   them by the Defendants is and has been easily accomplishable without much
18   difficulty or expense.
19                20.   Defendants violated the ADA by failing to remove all mobility-
20   related architectural barriers at the Subject Property. On information and belief,
21
     Plaintiff alleges that the failure to remove barriers has been knowing, willful and
22
     intentional because the barriers described herein are clearly visible and tend to be
23
     obvious even to a casual observer and because the Defendants operate the Subject
24
     Property and have control over conditions thereat and as such they have, and have
25
     had, the means and ability to make the necessary remediation of access barriers if
26
     they had ever so intended.
27

28                                           -6-
29
                                           COMPLAINT

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Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 7 of 14 Page ID #:7




1
                  21.    On information and belief, access barriers at the Subject

2    Property are being consciously ignored by the Defendants; the Defendants have
3    knowingly disregarded the ongoing duty to remove the Barriers in compliance with
4    the ADA. Plaintiff further alleges on information and belief that there are other
5    ADA violations and unlawful architectural barriers at the Subject Property that
6    relate to Plaintiff’s mobility disability that will be determined in discovery, the
7
     remediation of which is required under the ADA.
8
                  22.    Plaintiff hereby seeks an injunctive relief order for the
9
     remediation and removal all barriers related to his mobility disability, including but
10
     not limited to the Barriers, whether presently known or unknown. The Subject
11
     Property is approximately two miles from Plaintiff's place of employment, and
12
     Plaintiff is in the area of the Subject Property regularly and consistently for
13

14
     personal reasons. Plaintiff intends to return to the Subject Property at least several

15   times within the next twelve months and will observe and confirm whether access
16   barriers have been remediated and removed. Plaintiff would benefit from barrier
17   removal by having the equal opportunity to use the services provided at the
18   chiropractic business located at the Subject Property if it were made accessible to
19   him, which he would be inclined to do in the future. Plaintiff is presently deterred
20   from attempting to use the services provided at the Subject Property because of the
21
     Barriers.
22
                  23.    Even if strictly compliant barrier removal were determined to
23
     be structurally or otherwise impracticable, there are many alternative methods of
24
     providing accommodations that are readily apparent and that could provide a
25
     greater degree of accessibility to the Plaintiff and similarly situated persons but for
26
     the Defendants’ discriminatory policies, practices and procedures and Defendants’
27

28                                            -7-
29
                                            COMPLAINT

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Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 8 of 14 Page ID #:8




1
     conscious indifference to their legal obligations and to the rights of persons with

2    mobility disabilities. Defendants’ failure to implement reasonable available
3    alternative methods of providing access violates the ADA [42 U.S.C. §
4    12182(b)(2)(A)(v)].
5                 24.   The violations and references to code sections herein are not
6    all-inclusive. Plaintiff will amend this complaint to provide a complete description
7
     of the full scope of ADA violations after conducting a comprehensive expert site
8
     inspection and other discovery. For the purposes of this Complaint, Plaintiff asserts
9
     that the barriers alleged herein violate one or more of the ADA’s implementing
10
     regulations. The Defendants have maintained and continue to maintain
11
     discriminatory policies, procedures and practices that disregard their obligations
12
     under the ADA by allocating resources for physical improvements to the Subject
13

14
     Property that were did not provide legally required accessibility improvements, by

15   failing to conduct ADA self-inspections or create ADA compliance plans
16   regarding the Subject Property, by causing alterations to be made to the Subject
17   Property in disregard of ADA requirements, and for failing and refusing to make
18   necessary accommodations for persons with mobility disabilities at the Subject
19   Property. Plaintiff seeks a declaration that the Defendants’ disability rights
20   compliance policies, procedures and practices are discriminatory and violate the
21
     ADA.
22

23
     ///
24

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     ///
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28                                           -8-
29
                                           COMPLAINT

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Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 9 of 14 Page ID #:9




1
                               FIRST CAUSE OF ACTION
                              Discrimination Based on Disability
2                                [42 U.S.C. §§ 12101, et seq.]
3                             By Plaintiff against all Defendants
4

5
                  25.    Plaintiff re-alleges and incorporates by reference as though

6    fully set forth herein the allegations contained in all prior paragraphs of this
7    complaint.
8                 26.    The ADA obligates owners, operators, lessees and lessors of
9    public accommodations to ensure that the privileges, advantages, accommodations,
10   facilities, goods and services are offered fully and equally to persons with
11   disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
12
     12182(a)].
13
                  27.    Discrimination is defined in the ADA, inter alia, as follows:
14
                         A.     A failure to remove architectural barriers where such
15
     removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
16
     barriers are identified and described in the Americans with Disabilities Act
17
     Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
18

19
                         B.     A failure to make alterations in such a manner that, to the

20   maximum extent feasible, the altered portions of the facility are readily accessible
21   to and usable by individuals with disabilities, including individuals who use
22   wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
23   the altered area and the bathrooms, telephones, and drinking fountains serving the
24   altered area, are readily accessible to and usable by individuals with disabilities [42
25
     U.S.C. § 12183(a)(2)].
26
                         C.     Where an entity can demonstrate that the removal of a
27
      barrier is not readily achievable, a failure to make such goods, services, facilities,
28                                            -9-
29
                                            COMPLAINT

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Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 10 of 14 Page ID #:10




 1
     privileges, advantages, or accommodations available through alternative methods

 2   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
 3                      D.    A failure to make reasonable modifications in
 4   policies, practices, or procedures, when such modifications are necessary to afford
 5   such goods, services, facilities, privileges, advantages, or accommodations to
 6   individuals with disabilities, unless the entity can demonstrate that making such
 7
     modifications would fundamentally alter the nature of such goods, services,
 8
     facilities, privileges, advantages, or accommodations [42 U.S.C. §
 9
     12182(b)(2)(A)(ii)].
10
                 28.    The ADA, the ADAAG’s 1991 Standards (the “1991
11
     Standards”) and 2010 Standards (the “2010 Standards”), and the California
12
     Building Code (the “CBC”) contain minimum standards that constitute legal
13

14
     requirements regarding wheelchair accessibility at places of public

15   accommodation:
16                      A.    If parking spaces are provided for self-parking by
17   employees or visitors, or both, then the subject property must provide at least the
18   minimum required number of accessible parking spaces.Accessible parking
19   spaces must be marked to define their width and must have an adjacent ADA
20   compliant access aisle. Accessible parking spaces must be at least 96 inches wide
21
     and van parking spaces must be at least 132 inches wide except that van parking
22
     spaces can be 96 inches wide where the access aisle is not less than 96 inches
23
     wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the
24
     Subject Property does not comply with the ADA.
25
                        B.    To qualify as a reserved handicap parking space, the
26
     space must be properly marked and designated. Under the ADA, the method,
27

28                                          -10-
29
                                          COMPLAINT

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Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 11 of 14 Page ID #:11




 1
     color of marking and length of the parking space are to be addressed by state or

 2   local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
 3   and 503].
 4                      C.    To properly and effectively reserve a parking space for
 5   persons with disabilities, each parking space must be at least 216 inches in length
 6   [CBC § 11B-502.2].
 7
                        D.    Each parking space reserved for persons with disabilities
 8
     shall be identified by a reflectorized sign permanently posted immediately
 9
     adjacent to and visible from each stall or space, consisting of the International
10
     Symbol of Accessibility in white on a dark blue background. The sign shall not be
11
     smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
12
     shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
13

14
     the sign to the parking space finished grade. Signs may also be centered on the

15   wall at the interior end of the parking space. An additional sign or additional
16   language below the symbol of accessibility shall state "Minimum Fine $250"
17   [2010 Standards § 502.6; CBC § 1129B.4].
18                      E.    To properly and effectively reserve a parking space for
19   persons with disabilities, the surface of the access aisle must have a blue
20   border; the words “NO PARKING” in letters at least a foot high must be
21   painted on the access aisle [CBC § 1129B.3].
22
                        F.    One in every eight accessible spaces, but not less than
23
     one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
24
     wide minimum placed on the side opposite the driver’s side when the vehicle is
25
     going forward into the parking space and shall be designated van accessible. Van
26
     accessible spaces must have an additional sign or additional language stating "Van
27

28                                          -11-
29
                                          COMPLAINT

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Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 12 of 14 Page ID #:12




 1
     Accessible" below the symbol of accessibility. Signs identifying accessible

 2   parking spaces must be located so they cannot be obscured by a vehicle parked in
 3   the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
 4   and B4].
 5               29.   The Defendants have failed to comply with minimum
 6   ADA standards and have discriminated against persons with mobility
 7   disabilities on the basis of thereof. Each of the barriers and accessibility
 8   violations set forth above is readily achievable to remove, is the result of an
 9   alteration that was completed without meeting minimum ADA standards,
10   or could be easily remediated by implementation of one or more available
11
     alternative accommodations. Accordingly, the Defendants have violated the
12
     ADA.
13
                 30.   The Defendants are obligated to maintain in operable
14
     working condition those features of the Subject Property’s facilities and
15
     equipment that are required to be readily accessible to and usable by
16
     Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
17
     36.211(a)]. The Defendants failure to ensure that accessible facilities at the
18
     Subject Property were available and ready to be used by the Plaintiff
19
     violates the ADA.
20
                 31.   The Defendants have a duty to remove architectural
21
     barriers where readily achievable, to make alterations that are consistent
22
     with minimum ADA standards and to provide alternative accommodations
23

24
     where necessary to provide wheelchair access. The Defendants benign

25   neglect of these duties, together with their general apathy and indifference
26   towards persons with disabilities, violates the ADA.
27

28                                         -12-
29
                                         COMPLAINT

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Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 13 of 14 Page ID #:13




 1
                  32.   The Defendants have an obligation to maintain policies,

 2
     practices and procedures that do not discriminate against the Plaintiff and
 3   similarly situated persons with mobility disabilities on the basis of their
 4   disabilities. The Defendants have maintained and continue to maintain a policy of
 5   disregarding their obligations under the ADA, of allocating resources for
 6   improvements insufficient to satisfy legal requirements regarding accessibility
 7   improvements, of failing to conduct ADA self-inspections or create ADA
 8   compliance plans, of causing alterations to be made to the Subject Property in
 9
     disregard of ADA requirements, and of failing and refusing to make necessary
10
     accommodations for persons with mobility disabilities at the Subject Property, in
11
     violation of the ADA.
12
                  33.   The Defendants wrongful conduct is continuing in that
13
     Defendants continue to deny full, fair and equal access to their business
14
     establishment and full, fair and equal accommodations, advantages,
15
     facilities, privileges and services to Plaintiff as a disabled person due to
16
     Plaintiff’s disability. The foregoing conduct constitutes unlawful
17
     discrimination against the Plaintiff and other mobility disabled persons
18

19
     who, like the Plaintiff, will benefit from an order that the Defendants

20   remove barriers and improve access by complying with minimum ADA
21   standards.
22

23   ///
24

25

26   ///
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28                                          -13-
29
                                          COMPLAINT

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Case 5:22-cv-00392-JGB-KK Document 1 Filed 03/03/22 Page 14 of 14 Page ID #:14




 1
                               PRAYER FOR RELIEF

 2
           Plaintiff prays to this Court for injunctive, declaratory and all other
 3   appropriate relief under the ADA , including but not limited to reasonable
 4   attorney’s fees, litigation expenses and costs of suit pursuant to 42 U.S.C. §
 5   12205.
 6         Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
           not seek injunctive relief under the Unruh Act or Disabled Persons
 7
           Act at all by way of this action.
 8
     Respectfully submitted,
 9

10   Dated: 03/03/2022             LAW OFFICES OF ROSS CORNELL, APC
11

12                                 By: /s/ Ross Cornell
13                                     Ross Cornell, Esq.,
                                       Attorneys for Plaintiff,
14
                                       Bryan Estrada
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28                                        -14-
29
                                        COMPLAINT

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